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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       No. 4:07CR50 HEA
                                               )
ROBERT CONNER,                                 )
ROBERT BAKER,                                  )
WILLIAM HART,                                  )
GERALD MAURICE RANKIN,                         )
MONICA GHOLSON,                                )
JOANNA DAVIS,                                  )
MAX DAVIS, and                                 )
JOHN BOWMAN,                                   )
                                               )
       Defendants.                             )

                                              ORDER

       This matter comes before the Court upon Defendant Robert Conner’s Motion to

Continue Trial [Doc. 327], Waivers of Speedy Trial [Doc. #s 255, 260, 261, 262, 265, 268, 269,

279] filed by Defendants, and on the Court’s own motion. Government’s counsel has no

objection to Defendant’s motion.

       This Court, upon careful consideration of the motion of Defendant, and on review of the

record, finds that the ends of justice would best be served by continuing the trial setting to

November 26, 2007, and that a continuance of these proceedings outweighs the best interest of

the public and the defendants in a speedy trial. Furthermore, failure to grant a continuance would

deny counsel for the Defendants and the Government the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence.

       Defendants have filed with this Court signed Waivers of Speedy Trial under the Speedy
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Trial Act, 18 U.S.C. §3161.

        Concluding that the administration of justice will best be served by continuing this case,

the Court will reset trial in this proceeding.

Accordingly,

        IT IS HEREBY ORDERED, that the trial setting of September 17, 2007, is

VACATED, and that the trial is RESET to November 26, 2007, at 9:30 a.m.

        Dated this 31st day of August, 2007.



                                                 ________________________________________
                                                     HENRY EDWARD AUTREY
                                                 UNITED STATES DISTRICT JUDGE




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